            0:20-cv-00379-RMG-PJG                    Date Filed 09/21/20         Entry Number 19           Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


Renee Singleton,                                                       )
                            Plaintiff,                                 )
                               v.                                      )     Civil Action No.     0:20-cv-379-RMG-PJG
Commissioner of Social Security Administration,                        )
                           Defendant.                                  )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)                   recover from the defendant (name)             the amount of                dollars ($   ),
which includes prejudgment interest at the rate of             %, plus postjudgment interest at the rate of         %, along with
costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
O other: the decision of the Commissioner is reversed pursuant to sentence four of 42 U.S.C. § 405(g) and
the action is remanded for further proceedings.


This action was (check one):
 tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Richard M. Gergel, United States District Judge, presiding, who reversed the decision of
the Commissioner and remanded the action for further proceedings.


Date: September 21, 2020                                                   CLERK OF COURT


                                                                                           s/Brian D. Shropshire
                                                                                       Signature of Clerk or Deputy Clerk
